Case 1:23-cr-00490-SHS Document 323 Filed 04/15/24 Page 1 of 2

U.S. Department of Justice

United States Attorney
Southern District of New York

The Jacob K. Javits Federal Building
26 Federal Plaza, 37th Floor
New York, New York 10278

April 15, 2024
BY ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street

New York, New York 10007

Re: United States v. Robert Menendez et al.,
S4 23 Cr. 490 (SHS)

Dear Judge Stein:

The Government respectfully writes in the above-captioned matter to notify the Court and
counsel for the defendants that the undersigned today submitted, via the Classified Information
Security Officer, a classified, ex parte submission to the Court pursuant to Section 4 of the
Classified Information Procedures Act and Federal Rule of Criminal Procedure 16(d).
Case 1:23-cr-00490-SHS Document 323 Filed 04/15/24 Page 2 of 2

Hon. Sidney H. Stein
United States District Judge
April 15, 2024

Page 2

ce (by ECF)

Counsel of Record

Respectfully submitted,

DAMIAN WILLIAMS
United States Attorney

s/ Eli J. Mark

Eli J. Mark

Daniel C. Richenthal

Assistant United States Attorneys
(212) 637-243 1/2109

MATTHEW G. OLSEN
Assistant Attorney General
National Security Division

s/ Christina A. Clark
Christina A. Clark
Trial Attorney

(202) 307-5191

